 8:05-cr-00259-LSC-TDT       Doc # 65     Filed: 11/29/05    Page 1 of 1 - Page ID # 161




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR259
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
CORY JAMES SHIFFLETT,                        )
                                             )
              Defendant.                     )

       This matter is before the Court on the motion to withdraw (Filing No. 57) filed by

defense counsel, Shannon P. O’Connor. Mr. O’Connor requests leave on behalf of the

Office of the Federal Public Defender to withdraw because attorney James Martin Davis

has entered an appearance (Filing No. 55).

       NECrimR 44.1(e) requires the filing of proof of service of the motion on the

attorney’s client before counsel may be relieved of his or her duties. The Court previously

held the motion to withdraw in abeyance pending the required filing. However, as Filing

No. 63 indicates that the Defendant is aware of and apparently consents to the change in

counsel, the Court will grant the motion to withdraw.

       IT IS ORDERED that the motion to withdraw (Filing No. 57) filed by defense

counsel, Shannon P. O’Connor, is granted.

       DATED this 29th day of November, 2005.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
